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                                            #:3451



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  17 Attorneys for Defendant
     STATE FARM GENERAL INSURANCE COMPANY
  18
                            UNITED STATES DISTRICT COURT
  19
                          CENTRAL DISTRICT OF CALIFORNIA
  20
     JACQUELYN “JACKIE” LACEY, in              Case No.: 2:24-cv-05205-FMO-MAA
  21 her individual capacity; and
     JACQUELYN “JACKIE” LACEY as               NOTICE OF SUBMISSION OF
  22 trustee of the D and J Lacey Family       DECLARATION OF JENNIFER
     Trust dated November 23, 2016,            HOFFMAN REGARDING APRIL
  23                                           21, 2025 NOTICE OF INTENDED
                   Plaintiffs,                 SANCTIONS AND FEE ORDERS
  24        v.
     STATE FARM GENERAL                        Judge: Hon. Fernando M. Olguin
  25 INSURANCE COMPANY, an Illinois            Crtrm: 6D
     corporation, and DOES 1-50, inclusive,    First Street Courthouse
  26               Defendants.
                                               Mag.: Hon. Maria A. Audero
  27                                           Crtrm: 880
                                               Roybal Federal Building
  28
                                            -1-                Case No. 2:24-cv-05205-FMO-MAA
      SMRH:4935-1247-4425.1   NOTICE OF SUBMISSION OF DECLARATION OF JENNIFER HOFFMAN RE NOTICE OF
                                                                INTENDED SANCTIONS AND FEE ORDERS
Case 2:24-cv-05205-FMO-MAA               Document 106     Filed 04/22/25   Page 2 of 7 Page ID
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   1            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   2 RECORD:
   3            Pursuant to the Special Master’s direction in the April 21, 2025 Notice of
   4 Intended Sanctions and Fee Orders, Defendant State Farm General Insurance
   5 Company (“State Farm”) submitted the Declaration of Jennifer Hoffman to the
   6 Special Master through JAMS’ portal on April 22, 2025. Pursuant to this Court’s
   7 Order that all papers submitted to the Special Master be filed with the Court (ECF
   8 70), a copy of the Declaration of Jennifer Hoffman is attached hereto as Exhibit A.
   9
  10 Dated: April 22, 2025                  SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
  11
                                            By                   /s/ Jennifer M. Hoffman
  12                                                           JENNIFER M. HOFFMAN
  13                                                            ANDRE J. CRONTHALL
                                                                 ANDREA S. WARREN
  14
  15                                                           Attorneys for Defendant
                                                        STATE FARM GENERAL INSURANCE
  16
                                                                     COMPANY
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                                                        -2-              Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4935-1247-4425.1   NOTICE OF SUBMISSION OF DECLARATION OF JENNIFER HOFFMAN RE NOTICE OF
                                                                 INTENDED SANCTIONS AND FEE ORDERS
Case 2:24-cv-05205-FMO-MAA   Document 106   Filed 04/22/25   Page 3 of 7 Page ID
                                  #:3453




        EXHIBIT A




                                                                Exhibit A, page 3
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                                             #:3454



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  13
     [Additional Counsel Listed on Next Page]
  14
                            UNITED STATES DISTRICT COURT
  15
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  16
     JACQUELYN “JACKIE” LACEY, in             Case No. 2:24-cv-05205-FMO-MAA
  17 her individual capacity;  and
     JACQUELYN “JACKIE” LACEY as              DECLARATION OF JENNIFER
  18 trustee of the D and  J Lacey Family     HOFFMAN REGARDING APRIL
     Trust dated November 23, 2016,           21, 2025 NOTICE OF INTENDED
  19                                          SANCTIONS AND FEE ORDERS
                   Plaintiffs,
  20        v.                                Judge:      Hon. Fernando M. Olguin
                                              Crtrm:      6D
  21 STATE     FARM   GENERAL
     INSURANCE COMPANY, an Illinois
  22 corporation, and DOES 1-50, inclusive,
                   Defendants.
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                                                    -1-               Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4904-3553-9769.2   DECLARATION REGARDING NOTICE OF INTENDED SANCTIONS AND FEE ORDERS
                                                                                 Exhibit A, page 4
Case 2:24-cv-05205-FMO-MAA              Document 106    Filed 04/22/25   Page 5 of 7 Page ID
                                             #:3455



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     Attorneys for Defendant
   6 STATE FARM GENERAL INSURANCE COMPANY
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                                                    -2-               Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4904-3553-9769.2   DECLARATION REGARDING NOTICE OF INTENDED SANCTIONS AND FEE ORDERS
                                                                               Exhibit A, page 5
Case 2:24-cv-05205-FMO-MAA              Document 106    Filed 04/22/25   Page 6 of 7 Page ID
                                             #:3456



   1            I, Jennifer M. Hoffman, declare:
   2            1.       I am an attorney at law duly licensed to practice before this Court, and
   3 am a partner at Sheppard, Mullin, Richter & Hampton, LLP, attorneys of record for
   4 Defendant State Farm General Insurance Company (“State Farm”). If called to
   5 testify as to the following facts, I would and could competently do so.
   6            2.       On April 21, 2025, the Special Master, Hon. Michael R. Wilner (Ret.),
   7 issued a “Notice of Intended Sanctions and Fee Orders.” Pursuant to the Order, I
   8 am submitting this Declaration to summarize the fees incurred by State Farm in
   9 connection with our drafting of a supplemental brief regarding privilege issues filed
  10 on April 14, 2025, and preparing for the hearing scheduled for April 22, 2025,
  11 before issuance of the Special Master’s April 21 tentative ruling.
  12            3.       I rendered services amounting to $2,990 in reviewing and revising the
  13 briefing, including review of the authority cited therein.
  14            4.       I am informed and believe that Associate Carolyn Carey rendered
  15 services amounting to $16,065 in preparing the briefing, including time spent
  16 researching and cite-checking the brief. In addition, Ms. Carey rendered services in
  17 the amount of $2,430 for hearing preparation, which included time spent confirming
  18 the inaccurate case and record citations contained in Plaintiffs’ brief.
  19            5.       I am informed and believe that Paralegal Chris Quesada rendered
  20 services amounting to $2,125 in supporting the preparation of the brief, which
  21 included time spent compiling the information supporting the record citations in the
  22 brief. In addition, Mr. Quesada rendered services in the amount of $350 for hearing
  23 preparation, which included time spent confirming the inaccurate record citations
  24 contained in Plaintiffs’ brief.
  25            6.       Based on the above, State Farm incurred a total of $21,180 for the
  26 preparation and filing of its supplemental brief. In addition, State Farm incurred a
  27 total of $2,780 for hearing preparation before issuance of the Special Master’s April
  28 21 tentative ruling.

                                                    -3-               Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4904-3553-9769.2   DECLARATION REGARDING NOTICE OF INTENDED SANCTIONS AND FEE ORDERS
                                                                             Exhibit A, page 6
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                                             #:3457



   1            I declare under penalty of perjury pursuant to the laws of the State of
   2 California and the United States of America that the foregoing is true and correct to
   3 my personal knowledge.
   4            Executed this 22nd day of April 2025, at Los Angeles, California.
   5
   6
                                                                /s/ Jennifer Hoffman
   7                                                          JENNIFER HOFFMAN
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                                                    -4-               Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4904-3553-9769.2   DECLARATION REGARDING NOTICE OF INTENDED SANCTIONS AND FEE ORDERS
                                                                                  Exhibit A, page 7
